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IMPORTANT MESSAGE

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PHONED Gh wee
MOBILE = . es t
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TELEPHONED ___-|-“" || PLEASE CALL
GAMETO SEE YOU |” WILL CALL AGAIN

 

 

 

 

 

 

 

 

 

 

 

WANTS TO SEE YOU” AUSH

RETURNED YOUR CALL SPECIAL ATTENTION

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She AS Al “THE IAFO
YOM NEEB :

 

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{SIGNED 1186]

 

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RETURNED YOUR GALL

 

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IMPORTANT MESSAGE |
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PHONES sa

 

 

 

 

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of] PLEASE CALL
WILLCALLAGAIN .
RUSH

SPECIAL ATTENTION

 

TELEPHONED
CAME TO SEE YOU *
WANTS TC SEE YOU

 

 

 

 

 

 

 

 

 

MESSAGE

Rehiens you C cokl

 

 

 

 

 

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MOBILE A
TELEPHONED PLEASE CALL -
CAME TO SEE YOU WILL CALL AGAIN
WANTS TO SEE YOU RUSH
I SPECIAL ATTENTION

 

 

 

 

 

 

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TIME 224-3 PM.

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MOBILE veal
TELEPHONEO PLEASE GALL
CAME TO SEE YOU WILL GALL AGAIN
WANTS TO SEE YOU RUSH .
RETURNED YOUR CALL SPECIAL ATTENTION

 

 

 

 

 

 

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SIGNED___ eat: TO | SIGNED. :

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IMPORTANT MESSAGE |

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RETURNED YOUR CALL| ff SPECIAL ATTENTION | [RETURNED youn CALL SPECIAL ATTENTION

 

 

 

  
     

 

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CAME TO SEE YOU WILL CALL AGAIN . : CAME-TO SEE YOU ‘WILL CALL AGAIN
WANTS TO SEE YOU RUSH Y WANTS TO SEE RUSH :
RETURNEC YOUR CALL |. SPECIAL ATTENTION YOUR CALL SPECIAL ATTENTION
MESSAGE . : | MESSAGE.
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WANTS TO SEE YOU RUSH
"RETURNED YOUR CALL SPECIAL ATTENTION
MESSAGE

 

 

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SIGNED. N— ri

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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PHONE?
MOBILE -
TELEPHONED PLEASE GALL
CAME TO SEE YOU WILL CALL AGAIN
WANTS TO SEE YOU RUSH
RETURNED YOUR GALL SPECIAL ATTENTION
MESSAGE
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Please cA ber I.
4d
SIGNED >» __ _ eh 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IMPORTANT MESSAGE
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CAME TO SEE YOU WILL CALLAGAIN
{wants To see vou [- fausH
RETURNED YOUR CALL SPECIAL ATTENTION
MESSAGE
Please Cod her
SIGNED. c 5 1184

 

FOR: Hy AE 4

TELEPHONED PLEASE CALL
CAME TO SEE YOU WILL CALL AGAIN
WANTS TO SEE YOU AUSH

JPRETURNED YOUR CALL - 4 SPECIAL ATTENTION

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IMPORTANT MESSAGE.

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

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CAME TO SEE YOU WILL CALL AGAIN
‘| WANTS TO SEE YOU RUSH
RETURNED YOUR CALL SPECIAL ATTENTION
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| IMPORTANT MESSAGE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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IMPORTANT MESSAGE

 

 

 

 

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PLEASE CALL
“7 WILL CALL AGAIN

TELEPHONED

CAME TO SEE YOU
WANTS TO SEE YOU RUSH

SPECIAL ATTENTION

 

RETURNED YOUR CALL
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WANTS TO SEE YOU RUSH * WANTS TO SEE YOU RUSH
RETURNED YOUR CALL SPECIAL ATTENTION. 7 RETURNED YOUR GALL] ° SPECIAL ATTENTION
MESSAGE. MESSAGE
Tell lin thod Chee Sho wc
Cees " loz \¢
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Case 1:15-cv-07433-LAP Document 1218-21 Filed 07/15/21 Page 19 of 51

 

 

 

 

 

 

 

 

   

 

 
  

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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IMPORTANT MESSAGE

 

 

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FOR

TELEPHONED

CAME TO SEE You
WANTS TO SEE YOU
RETURNED YOUR CALL

MESSAGE -

PLEASE CALL

WILL CALL AGAIN
RUSH ,

SPECIAL ATTENTION

 

 

Please / AD) her
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IMPORTANT MESSAGE

 

 

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CAME TG SEE YOU

1 WANTS TO SEE YOU

YOUR CALL

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PLEASE CALL.
TWAWILL CALL AGAIN
RUSH

 

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CAME TO SEE You

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| WANTS TO SEE You

 

 

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SPECIAL ATTENTION

 

 

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| [WANTS To SEE You RUSH

 

 

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Case 1:15-cv-07433-LAP Document 1218-21 Filed 07/15/21 Page 21 of 51

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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"| | CAME To SEB YOU WILL CALL AGAIN CAME TO SEE YOU WILL CALL AGAIN .
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WANTS TO SEE You |. -dRusH WANTS TO SEE YOU RUSH
RETURNED YOUR CALL SPECIAL ATTENTION “ RETURNED YOUR CALL SPECIALATTENTION -|
MESSAGE . MESSAGE
awe Cet’ 4igy Core. Face tof ote
MANE £ La FA te? an 6-4.
tHe £3 oa phe Eng? bell ot er ocvin dt
fe fhe Augen Tew ks men. \ cabal ame
SIGNED p- SIGNED. 7 4 cs

 

 

 

IMPORTANT MESSAGE ,

 

 

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TELEPHONED PLEASE CALL

CAME TO SEE YOU WILL CALL AGAIN
[WANTS T0 SEE vou | [nus

RETURNED YOUR CALL SPECIAL ATTENTION

 

 

 

 

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TELEPHONED PLEASE CALL
CAME TO SEE YOu WILL CALL AGAIN
WANTS TO SEE YOU RUSH :
RETURNED YOUR CALL SPECIAL ATTENTION
MESSAGE. —e.
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CAME TO SEE YOU WILL GALL AGAIN . CAME TO SEE YOU WILL CALL AGAIN
WANTS TO SEE YOU RUSH ; WANTS TO SEE YOU FIUSH
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MESSAGE a 4 ! MESSAGE

 

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MOBILE a MOBILE.

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RETURNED YOUR CALL SPECIAL ATTENTION RETUANED YOUR CALL SPECIAL ATTENTION

 

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Case 1:15-cv-07433-LAP Document 1218-21 Filed 07/15/21 Page 24 of 51

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TELEPHONED ; PLEASE CALL
CAME TO SEE YOU..., WIL, CALL AGAIN

‘| WANTS TO SEE YOU RUSH

RETURNED YOUR CALL SPECIAL ATTENTION

 

 

 

 

 

 

 

 

 

 

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TELEPHONED PLEASE CALL .

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WANTS TO SEE YOU RUSH. 0 wo. wen
RETURNED YOUR CALL SPECIAL ATTENTION

 

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DATE : me 23 AM

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OF.

PHONES
MOBILE

TELEPHONED PLEASE CALL

CAME TO SEE YOU WILL CALLAGAIN
WANTS TO SEE YOu RUSH

RETURNED YOUR CALL, . SPECIAL ATTENTION

MESSAGE fA nd C ‘ott
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CAME TO SEE YOU WILL CALL AGAIN
WANTS TO SEE YOU RUSH

RETURNED YOUR CALL SPECIAL ATTENTION

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MESSAGE: ; 3
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WANTS TO SEE YOU RUSH
RETURNED YOUR GALL SPECIAL ATTENTION
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GIUFFRE001442

 
 

 

 

 

 

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IMPORTANT MESSAGE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IMPORTANT MESSAGE

 

 

 

 

of

 

 

 

 

 

 

 

 

 

 

 

TELEPHONED PLEASE CALL

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WANTS TO SEE YOU RUSH

RETURNED YOUR CALL SPECIAL ATTENTION
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IMPORTANT MESSAGE

 

 

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OF

PHONE/

MOBILE

TELEPHONED PLEASE CALL

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WANTS TO SEE YOU AUSH

RETURNED YOUR GALL SPECIAL ATTENTION

 

 

 

 

 

MESSAGE a ee

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IMPORTANT MESSAGE

 

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OF.
PHONE?
MOBILE
TELEPHONED | PLEASE CALL
CAME TO SEE YOU WILL CALL AGAIN
WANTS TO SEE YOU RUSH
RETURNED YOUR CALL SPECIAL ATTENTION
MESSAGE
§A001471
eno ay

GIUFFRE001443

 
